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1                                                                            FILED IN THE
                                                                         U.S. DISTRICT COURT
                                                                   EASTERN DISTRICT OF WASHINGTON


2
                                                                   Sep 28, 2021
3                        UNITED STATES DISTRICT COURT                   SEAN F. MCAVOY, CLERK


                        EASTERN DISTRICT OF WASHINGTON
4
     JERRY D. MCCONNACHIE,                     No. 2:21-cv-00181-SMJ
5
                              Plaintiff,
6                                              ORDER ADOPTING REPORT
                  v.                           AND RECOMMENDATION
7
     WASHINGTON STATE
8    DEPARTMENT OF SOCIAL AND
     HEALTH SERVICES; DR. RICHARD
9    L. DENNIE; DR. VERNE CRESSY;
     DR. DODDS SIMANGAN; and DR.
10   GREG BAHDER,

11                            Defendants.

12
            Before the Court is Magistrate Judge Dimke’s September 3, 2021 Report and
13
     Recommendation, ECF No. 6, recommending that the Court dismiss this matter
14
     with leave to amend. No objections have been filed. After reviewing the Report and
15
     Recommendation and relevant authorities, the Court finds the Magistrate Judge’s
16
     findings are correct. Therefore, the Court adopts the Report and Recommendation,
17
     subject to the changes described below due to filings made after the Report and
18
     Recommendation.1
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20   1
      Plaintiff filed his First Amended Complaint on September 14, 2021. ECF No.
     13. The Court will review the Amended Complaint by separate Order.


     ORDER ADOPTING REPORT AND RECOMMENDATION – 1
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1           Plaintiff has sent numerous letters to the Magistrate court, which no longer

2    has jurisdiction over this case. ECF Nos 14–19. Plaintiff is directed to address all

3    future communications to this Court, i.e. Judge Mendoza. Additionally, Plaintiff is

4    advised that such letters are improper. Instead, if Plaintiff seeks relief, he must file

5    a proper motion. Such a motion shall clearly state what relief Plaintiff requests and

6    the arguments in support of that relief. He shall also attach any evidence to the

7    motion and explain in the motion how the evidence supports his position. To the

8    extent that he seeks for the letters to support his Amended Complaint, the Court

9    notes that all facts alleged must be contained in the complaint itself. As to the letters

10   already sent by Plaintiff, the Court cannot determine that any action is appropriate

11   at this time.

12          Accordingly, IT IS HEREBY ORDERED:

13          1.       The Report and Recommendation, ECF No. 12, is ADOPTED,

14                   subject to the changes described below.

15          2.       Plaintiff’s Complaint, ECF No. 1, is DISMISSED WITH LEAVE

16                   TO AMEND.

17                   A.    Plaintiff is granted leave ONLY to amend his claims pertaining

18                         to his medical care at Eastern State Hospital.

19                   B.    The Court will review Plaintiff’s Amended Complaint, ECF No.

20                         13, for legal sufficiency in a separate order.




     ORDER ADOPTING REPORT AND RECOMMENDATION – 2
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1          3.    The Court DEFERS ruling on Plaintiff’s Motions for Appointment of

2                Counsel, ECF Nos. 3 & 5, until after a determination of legal

3                sufficiency.

4          4.    Plaintiff must provide notice of the dismissal to any and all

5                Defendant(s) she served with a copy of the Complaint and Summons.

6          IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

7    provide copies to pro se Plaintiff and Magistrate Judge Dimke.

8          DATED this 28th day of September 2021.

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10                      SALVADOR MENDOZA, JR.
                        United States District Judge
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     ORDER ADOPTING REPORT AND RECOMMENDATION – 3
